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7
8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10
11
         GOLDWATER BANK, NA,                           5:21-cv-616-JWH-SP
12                                        Plaintiff,
13                                                     DECLARATION OF ARTUR
         vs.                                           ELIZAROV SUPPORTING
14
                                                       MOTION FOR SANCTIONS
15       ARTUR ELIZAROV ET AL,                         UNDER RULE 11
                            Defendant.
16
                                                       Date: 10/21/2022
17       AND RELATED CROSS-ACTION.                     Time: 9:00 am
18                                                     Court: Hon. John W. Holcomb
19
20              1.   My name is Artur Elizarov.
21              2.   I am a defendant in the above-entitled civil cause.
22                                    Goldwater loan application
23              3.   I contacted Goldwater Bank, National Association about a mortgage
24      loan in late June 2019.
25              4.   I primarily spoke to Gregory Hill who introduced himself as
26      Goldwater’s loan officer.
27              5.   When I applied for the loan, I provided information to Gregory Hill
28      by phone, text messages, email.
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1             6.       During one of the early phone calls, I disclosed to Gregory Hill that I
2       had a registered domestic partner Ilya Alekseyeff.
3             7.       I also disclosed to Gregory Hill that I was a party to a lawsuit with
4       BMW, which was settled as of May 2019.
5             8.       I also disclosed to Gregory Hill that I no longer had a debt to the
6       Internal Revenue Service because I paid off the debt in January 2018 when I sold a
7       residence in Valley Village.
8             9.       In fact, Gregory Hill’s question about the IRS lien prompted me to
9       contact the IRS about getting the lien officially released.
10            10.      The IRS followed up on my call and recorded the release in December
11      of 2019.
12            11.      Gregory Hill subsequently prepared a loan application.
13            12.      Gregory Hill advised me that he included only the information that
14      Goldwater required for my type of mortgage loan.
15            13.      Gregory Hill told me that I did not have to include the information
16      about Ilya Alekseyeff because I qualified for the loan on my own; did not have to
17      report the BMW lawsuit because I settled the case in May; and did not have to
18      disclose the IRS issue because I paid off the balance in January 2018.
19            14.      Mr. Gregory Hill’s approach to the application was similar to my
20      earlier experience applying for mortgage loans.
21            15.      I did not personally complete any of the information in the loan
22      information.
23            16.      I examined the document in Exhibit HH and recognized the
24      document as an accurate printout of my entire text conversation with Gregory Hill
25      between June 24, 2019, and February 5, 2021.
26            17.      To confirm accuracy, I compared the contents of Exhibit HH with the
27      contents of my phone and verified that Exhibit HH included all my individual text
28
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1       messages that I exchanged with Gregory Hill between June 24, 2019, and February
2       5, 2021.
3             18.     Page 5 of Exhibit HH included a discussion of my husband’s
4       creditworthiness.
5             19.     Page 9 of Exhibit HH references my husband by name, “Ilya.”
6             20.     I expected Gregory Hill to recognize the name because I previously
7       identified my husband Ilya Alekseyeff by name to Gregory Hill during phone calls.
8             21.     Page 8 of Exhibit HH shows the information about the BMW lawsuit
9       that I sent to Gregory Hill.
10            22.     I also sent Gregory Hill the settlement agreement and the notice of
11      settlement from that lawsuit as well.
12            23.     I examined the documents in Exhibit A and Exhibit C and
13      recognized those as the two documents that I sent to Gregory Hill as discussed on
14      Page 8 of Exhibit HH.
15            24.     During the application process, Gregory Hill asked me to send him
16      certain information about my partner Ilya Alekseyeff’s mother, Lyudmila
17      Alekseyeva.
18            25.     I no longer remember why Gregory Hill needed the information.
19            26.     Nonetheless, I complied with the request.
20            27.     I examined the document in Exhibit X and recognized the document
21      as the email that I sent to Gregory Hill on July 19, 2019, along with the
22      information about Ilya Alekseyeff mother, Lyudmila Alekseyeva, that Gregory Hill
23      had requested.
24                                              Tax lien
25            28.     On October 16, 2017, the Internal Revenue Service recorded in Los
26      Angeles County a notice of lien regarding a balance of $107,787.69 regarding
27      2014 tax return.
28
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1             29.      At the time, I owned a house located at 11623 Morrison Street in
2       Valley Village, California.
3             30.      I sold the house to Cao Thu and Solomon Aman Demoz on January
4       19, 2018.
5             31.      During escrow regarding the sale of the Morrison house, I requested a
6       demand from the IRS because I had to extinguish the IRS lien to close the
7       transaction.
8             32.      On January 17, 2018, the Internal Revenue Service transmitted a
9       demand for the outstanding balance of $91,567.25.
10            33.      I examined the document in Exhibit K and recognized the document
11      as an exact duplicate of the payoff demand from the Internal Revenue Service
12      dated January 17, 2018.
13            34.      I highlighted the amount due in Exhibit K for emphasis.
14            35.      I subsequently instructed the escrow officer, Andrea Cross, to satisfy
15      this demand.
16            36.      I examined the document in Exhibit L and recognized the document
17      as an exact duplicate of a check for $91,567.25 that Andrea Cross issued to the
18      Internal Revenue Service per my instructions.
19            37.      I examined the document in Exhibit M and recognized the document
20      as an exact duplicate of the Amended Seller’s Final Settlement Statement
21      regarding the sale of the Morrison house, which I received from Andrea Cross,
22      which shows a payment to the Internal Revenue Service of $91,567.25.
23            38.      I highlighted the relevant information in Exhibit M for emphasis.
24            39.      I also redacted certain information from Exhibit M to protect the
25      privacy of my personal financial information.
26            40.      I examined the document in Exhibit O and recognized the document
27      as an exact duplicate of the Certificate of Release of Federal Tax Lien, which I
28      received from the Internal Revenue Service in December 2019.
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1             41.    I contacted the Internal Revenue Service about this document after
2       Gregory Hill advised me that the lien remained active despite the payment that I
3       made to the IRS in January 2018.
4                                             The sale
5             42.    I hired real estate broker Will Cook to market the Palm Springs
6       property for sale in November 2020.
7             43.    I examined the document in Exhibit T and recognized the document
8       as an exact duplicate of the residential listing agreement that Mr. Cook and I
9       signed on November 23, 2020.
10            44.    I informed Gregory Hill by text message that I had put the property
11      for sale on February 3, 2021.
12            45.    These messages are reflected on page 23 of Exhibit HH.
13            46.    At Gregory Hill’s request, I promptly shared the escrow officer’s
14      information with Gregory Hill.
15            47.    Page 24 of Exhibit HH reflects my efforts to share the information
16      about escrow with Gregory Hill.
17            48.    On February 3, 2021, I also transmitted the escrow officer’s contact
18      information to Goldwater’s agent Peter Hill.
19            49.    On March 3, 2021, I sent Peter Hill at Goldwater a copy of my
20      residential purchase agreement with Scott Howlett.
21            50.    I examined the document in Exhibit W and recognized the document
22      as an exact duplicate of an email that I sent to Peter Hill on March 3, 2021.
23            51.    I also highlighted the attachment, “291 W Overlook, PS_RPA.pdf,”
24      which referred to the purchase agreement between Mr. Howlett and me, which I
25      previously identified as Exhibit T.
26            52.    I examined the document in Exhibit P and recognized the document
27      as an exact duplicate of my email conversation with Peter Hill and Gregory Hill.
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1                                 CERTIFICATE OF SERVICE
2             I, Ilya Alekseyeff, certify that on August 8, 2022, I served the attached
3       “DECLARATION OF ARTUR ELIZAROV SUPPORTING MOTION FOR
4       SANCTIONS UNDER RULE 11” by mail as follows:
5        Derek Bast                     Joseph LeVota
         Wagner Hicks, PLLC             Hilbert Satterly LLP
6        831 E Morehead St Ste 860      409 Camino del Rio St Ste 104
7        Charlotte, NC 28202            San Diego, CA 92108
8
         Marie Maurice
9        Ivie McNeill Wyatt Purcell & Diggs,
10       444 S Flower St Fl 18
         Los Angeles, CA 90071-2919
11
12
13            I further certify that on that on August 8, 2022, I also served the attached

14      “DECLARATION OF ARTUR ELIZAROV SUPPORTING MOTION FOR

15      SANCTIONS UNDER RULE 11” by email as follows:
              1.     Derek Bast, derek.bast@waghernicks.law
16
              2.     Marie Maurice, mmaurice@imwlaw.com
17
              3.     Joseph LeVota, jlevota@hscallaw.com
18
              4.     Ryan Thomason, rthomason@hallgriffin.com
19
20            5.     Nabil Bisharat, nbisharat@orsusgate.com

21            I declare under penalty of perjury under the laws of the United States that

22      the above certification is true and correct.

23
24
        Date: 08/08/2022                  Signature:
25
26
27
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                                     7
            DECLARATION OF ARTUR ELIZAROV SUPPORTING MOTION FOR
                          SANCTIONS UNDER RULE 11
